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 1   LAURA A. STOLL (SBN 255023)
     LStoll@goodwinlaw.com
 2   GOODWIN PROCTER LLP
     601 South Figueroa Street
 3   Suite 4100
     Los Angeles, California 90017
 4   Tel.: +1 213 426 2500
     Fax: +1 213 623 1673
 5
     ARIEL E. ROGERS (SBN 316910)
 6   ARogers@goodwinlaw.com
     GOODWIN PROCTER LLP
 7   601 Marshall Street
     Redwood City, California 94063
 8   Tel.: +1 650 752 3100
     Fax: +1 650 649 2387
 9
10   Attorneys for Defendant
     Avery Dennison Corp.
11
12                         UNITED STATES DISTRICT COURT
13                       SOUTHERN DISTRICT OF CALIFORNIA
14
15   JOSEPH N. MULLIS, an individual,            Case No. 3:23-cv-02106-LAB-BGS
16                   Plaintiff,                  DEFENDANT AVERY DENNISON
                                                 CORPORATION’S CORPORATE
17         v.                                    DISCLOSURE STATEMENT
                                                 PURSUANT TO FED. R. CIV. P. 7.1
18   J.P. MORGAN CHASE & CO., a                  AND L.R. 40.2; NOTICE OF
     Delaware corporation; RICK SMITH, an        PARTIES WITH FINANCIAL
19   individual; NEOLOGY, INC., a                INTEREST PURSUANT TO L.R.
     Delaware corporation; FRANCISCO             40.2
20   MARTINEZ DE VELASCO, an
     individual,; AVERY DENNISON                 Action Filed in State Court: October 13,
21   CORP., a Delaware corporation; and          2023
     DOES 1 to 20, inclusive,                    Action Removed: November 16, 2023
22
                     Defendant.                  Hearing Date: March 11, 2024
23                                               Hearing Time: 11:30tha.m.
                                                 Courtroom: 14A (14 Flr)
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     DEFENDANT AVERY DENNISON CORPORATION’S CORPORATE                 3:23-cv-02106-LAB-BGS
     DISCLOSURE STATEMENT & NOTICE OF PARTIES WITH FINANCIAL INTEREST
Case 3:23-cv-02106-JO-BGS Document 23 Filed 02/20/24 PageID.294 Page 2 of 2



 1                     CORPORATE DISCLOSURE STATEMENT
 2         Pursuant to Rule 7.1 of the Federal Rules of Civil Procedure and Civil Local
 3   Rule 40.2, Defendant Avery Dennison Corporation (“Avery Dennison”), by its
 4   undersigned counsel, states as follows:
 5         Avery Dennison is a publicly traded company, has no parent corporation, and
 6   no publicly held corporation owns 10% or more of its stock.
 7              NOTICE OF PARTIES WITH FINANCIAL INTEREST
 8         In addition to the parties and entities set forth above, pursuant to Local Rule
 9   40.2, Avery Dennison, by its undersigned counsel, certifies the following additional
10   parties may have a financial interest in the outcome of this case:
11         1.     Plaintiff Joseph N. Mullis
12
13   Dated:       February 20, 2024                GOODWIN PROCTER LLP

14
15                                                 By: /s/ Laura A. Stoll
                                                      Laura A. Stoll
16                                                    LStoll@goodwinlaw.com
                                                      Ariel E. Rogers
17                                                    ARogers@goodwinlaw.com

18                                                 Attorneys for Defendant
19                                                 Avery Dennison Corp.

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     DEFENDANT AVERY DENNISON CORPORATION’S CORPORATE                 3:23-cv-02106-LAB-BGS
     DISCLOSURE STATEMENT & NOTICE OF PARTIES WITH FINANCIAL INTEREST
